
950 A.2d 786 (2008)
405 Md. 220
ATTORNEY GRIEVANCE COMMISSION of Maryland, Petitioner,
v.
David William BODLEY, Respondent.
Misc. Docket AG No. 81, Sept. Term, 2007.
Court of Appeals of Maryland.
June 17, 2008.

ORDER
This matter having come before the Court on a Joint Petition for Order Placing Respondent on Inactive Status and Respondent's Affidavit which accompanied said Petition; and
This Court having considered the Petition and the Affidavit, it is this 17th day of June, 2008;
ORDERED, by the Court of Appeals of Maryland, that the Respondent, David William Bodley, is placed on inactive status by consent, pending further order of this Court; and it is further
ORDERED, that the Clerk of this Court shall strike the name of David William Bodley from the register of attorneys in this Court and certify that fact to the Trustees of the Client Protection Fund of the Bar of Maryland and the clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772(d).
